                    Case: 1:22-cv-01449 Document #: 8 Filed: 04/05/22 Page 1 of 3 PageID #:43
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
BRH-GARVER CONSTRUCTION, LLC,

                                                                 CASE NUMBER:       1:22-cv-01449
                                V.                               ASSIGNED JUDGE:
                                                                                    Honorable Joan B. Gottschall
 BANKFINANCIAL, N.A.,                                            DESIGNATED
                                                                 MAGISTRATE JUDGE: Honorable Maria Valdez


                    TO: (Name and address of Defendant)
       BankFinancial, N.A.’s
       21110 South Western Avenue,
       Olympia Fields, Illinois, 60461



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Trevor Illes
                 Benesch, Friedlander, Coplan & Aronoff LLP
                 71 South Wacker Drive, Suite 1600
                 Chicago, IL 60606


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                          RK
     THOMAS G. BRUTON, CLERK

                                                                                      April 1, 2022
                                                                                      Apr

     (By) DEPUTY CLERK                                                                DATE
                                                                                      DAT
                     Case: 1:22-cv-01449 Document #: 8 Filed: 04/05/22 Page 2 of 3 PageID #:44
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                                                  TITLE


   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                      TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
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                                                     AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT                                                              Case #: 1:22-cv-01449
NORTHERN DISTRICT OF ILLINOIS


                                                     BRH-Garver Construction, LLC
                                                                                                                     Plaintiff
                                                                   vs.

                                                          Bankfinancial, N.A.
                                                                                                                    Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was a
citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be witness
therein, and that I served copies of the:

                                            Summons & Amended Complaint; Exhibit(s)


               PARTY SERVED:         BANKFINANCIAL, N.A.
             PERSON SERVED:          DENETHA SMITH, BANK/CLIENT REP II
        METHOD OF SERVICE:           Corporate - By leaving copies with the person identified above, apparently in charge at the
                                     office or usual place of business. I informed him/her of the general nature of the papers.
  DATE & TIME OF DELIVERY:           04/04/2022 at 11:36 AM
 ADDRESS, CITY AND STATE:            21110 S WESTERN AVE, OLYMPIA FIELDS, IL 60461
                 DESCRIPTION:        Race: Black        Sex: Female         Age: 30+
                                     Height: 5'5''      Weight: 135+        Hair: Black        Glasses: No



                                                                         I declare under penalties of perjury that the information contained
                                                                         herein is true and correct.
SUBSCRIBED AND SWORN to before me on the 4th
day of April, 2022.




                                                                         Signature:
NOTARY PUBLIC                                                                                       Anna Canole
                                                                                             Registration No: 117-001119




                     Judicial Attorney Services, Inc. 2100 Manchester Rd., Ste 503-2 Wheaton, IL 60187, (630) 221-9007

CLIENT: Benesch Friedlander Coplan & Aronoff LLP                                                                                 Job #: 489248
FILE #:
